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  8
                            UNITED STATES DISTRICT COURT
  9
                IN AND FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
      MASSEY ENTERPRISE                       ) CV12-05327 JFW (MRWx)
 11   INTERNATIONAL, INC., et al.             )
                                              ) DEFENDANT A&E TELEVISION
 12               Plaintiffs,                 ) NETWORKS, LLC’S
                                              ) MEMORANDUM OF POINTS AND
 13        v.                                 ) AUTHORITIES IN SUPPORT OF
                                              ) MOTION TO COMPEL
 14   ASSOCIATED TELEVISION                   ) ARBITRATION
      INTERNATIONAL, et al.                   )
 15                                           ) [Filed concurrently with Notice of
                  Defendants.                 ) Motion and Motion; Declaration of
 16                                           ) Richard Casares; Proposed Order]
                                              )
 17                                           )
                                              ) Date: November 19, 2012
 18                                           ) Time: 1:30 p.m.
                                              ) Department 16
 19                                           )
                                              ) Assigned To: Hon. John F. Walter
 20                                           ) Action filed: June 19, 2012
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        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO COMPEL ARBITRATION
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  1                   MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.       INTRODUCTION
  3            Plaintiffs are two actors (Kyle and Christopher Massey), their mother (Angel
  4   Massey) and related entities (Massey Enterprise International, Inc. (“MEI”) and Boy-
  5   O-Boy Entertainment, Inc. (“Boy-O-Boy”)) (collectively “Plaintiffs”). Collectively,
  6   Plaintiffs entered into three contracts to provide services in connection with a
  7   proposed reality television series titled Helping Hands produced by defendants
  8   Associated Television International (“ATI”), Helping Hands, LLC (“Helping Hands”),
  9   and David McKenzie a.k.a. David Stanton (“McKenzie”), and intended to be aired on
 10   Bio, a channel owned by defendant A&E Television Networks, LLC (“AETN,” sued
 11   erroneously as “A&E Networks, LLC”) (collectively, “Defendants”). The series was
 12   to feature Kyle and Christopher Massey along with the daughter of Sarah Palin,
 13   Bristol Palin, and Bristol’s son, Tripp. Upset that the series never came to fruition,
 14   Plaintiffs filed this action, asserting a variety of claims in their Second Amended
 15   Complaint (the “SAC”) against AETN, all of which relate to Plaintiffs’ contracts
 16   (counts one, four, five, and seven through nine —the “Helping Hands Counts”).
 17   However, in those contracts, Plaintiffs unequivocally agreed that “any dispute” would
 18   be subject to binding arbitration. Despite that agreement, Plaintiffs have refused to
 19   arbitrate. No grounds justify that refusal. Therefore, by this Motion, AETN
 20   respectfully requests that the Court (1) compel arbitration of the Helping Hands
 21   Counts pursuant to the Federal Arbitration Act, 9 U.S.C. §§ 1 et seq. (the “FAA”) and
 22   the California Arbitration Act, Code Civ. Proc. §§ 1280 et seq. (the “CAA”); (2)
 23   dismiss the Helping Hands Counts pursuant to Rules 12(b)(1) and (3) of the Federal
 24   Rules of Civil Procedure2; and (3) in the event the Court finds any of the Helping
 25   Hands Counts non-arbitrable, stay further proceedings pending arbitration.3
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 27   2
       Valley Power Sys., Inc. v. Gen. Elec. Co., No. CV 11-10726 CAS, 2012 WL 665977
 28   at *7 (C.D. Cal. Feb. 27, 2012) (“Substantial case law establishes that [Rules 12(b)(1),
                                                                                   (Footnote continued)


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  1   II.   BACKGROUND
  2         Plaintiffs allege that they created the concept of Helping Hands and were
  3   wronged by the cancellation of that project. They further allege that they were
  4   excluded from another reality television program entitled Bristol Palin: Life’s a Tripp
  5   (the “Palin Series”), alleging it is derivative of Helping Hands and that they own
  6   certain concepts incorporated into the Palin Series. SAC ¶¶ 35, 37. Plaintiffs’
  7   participation in Helping Hands was governed by three agreements: two coterminous
  8   “Artists’ Deal Memos” and a “Producer’s Deal Memo” (collectively, the “Deal
  9   Memoranda”). SAC ¶¶ 25, 30; Exhibits (“Exhs.”) A and B to Declaration of Richard
 10   Casares (“Casares Decl.”). Counts one, four, five, and seven through nine of the SAC
 11   relate to these agreements in various ways, and form the subject matter of this Motion.
 12         Specifically, Plaintiffs’ copyright infringement claim (count one) alleges that
 13   Helping Hands was created by Angel Massey, is based on a treatment authored by her
 14   entitled “Bristol-ogy 101,” and that the language of the Producer’s Deal Memo
 15   reserves various intellectual property rights for her. SAC ¶¶ 30, 42. It is that
 16   reservation of rights that allegedly gives her ownership of the copyrights she alleges
 17   Defendants infringed. SAC ¶¶ 32, 37, 42. The claims for breach of contract (count
 18   four) and breach of the implied covenant of good faith and fair dealing (count five)
 19   allege that Defendants did not perform duties imposed on them by the Deal
 20   Memoranda. SAC ¶¶ 56, 63, 65. The tortious interference claim (count seven)
 21   alleges that Defendants intentionally interfered with Plaintiffs’ business prospects by,
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      (3), and (6)] are the correct rules under which to seek dismissal based on an arbitration
 24   provision.”).
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        Requests for an order compelling arbitration are heard and ruled upon “in the manner
 25   provided by law for the making and hearing of motions.” 9 U.S.C. § 6. By bringing
      this Motion to Compel Arbitration, Defendants do not waive their right to challenge
 26   the sufficiency of the SAC pursuant to Federal Rules of Civil Procedure R. 12(b)(6).
      See, e.g., Morales v. University of Phoenix, Case No. 08-01754-PHX-FJM, 2009 WL
 27   510907, at *1 (D. Ariz. Feb. 27, 2009) (party may file motion to compel arbitration in
      lieu of answering or otherwise responding to complaint).
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  1   among other things, Defendants’ “breaches of the applicable agreements alleged
  2   herein, Defendants’ suspension of the production of Helping Hands, [and] falsely
  3   claiming to BRISTOL that Plaintiffs breached the applicable agreements . . . .” SAC
  4   ¶ 75 (emphases added). Plaintiffs claim unfair competition (count eight) by alleging,
  5   among other things, that the noncompetition agreements in the Deal Memoranda—
  6   “the subject contracts alleged herein”—are illegal and must be enjoined. SAC ¶ 80.
  7   And finally, Plaintiffs’ request for a constructive trust and accounting (count nine)
  8   seeks to collect profits to which they are allegedly entitled based on rights established
  9   by the Deal Memoranda. SAC ¶ 84–85.
 10   III.   THE AGREEMENTS AT ISSUE
 11          A.    The Artists’ Deal Memos
 12          On March 23, 2011, ATI and MEI entered into two written agreements called
 13   the Artists’ Deal Memos. Exh. A to Casares Decl. Through the Artists’ Deal Memos,
 14   Kyle and Christopher Massey agreed they would perform for the production of ten
 15   episodes of Helping Hands. Exh. A to Casares Decl., Page 2. For its part, Helping
 16   Hands agreed to pay $25,000 to each of the two artists on a per-episode basis. Exh. A
 17   to Casares Decl., Page 2.
 18          The terms of the Artists’ Deal Memos require the arbitration of any dispute that
 19   arises out of the contract. Exh. A to Casares Decl., Page 3, clause 4. The Artists’
 20   Deal Memos state: “This Agreement shall be governed by California Law and any
 21   dispute shall be subject [to] binding arbitration.” (Emphasis added.)
 22          B.    The Producer’s Deal Memo
 23          On July 15, 2011, Helping Hands and Boy-O-Boy entered into a written
 24   agreement entitled Producer’s Deal Memo. Exh. B to Casares Decl. Through the
 25   Producer’s Deal Memo, which she signed, Angel Massey agreed to act as a producer
 26   of Helping Hands. Exh. B to Casares Decl., Page 8. In exchange, Helping Hands
 27   agreed to pay her $10,000 on a per-episode basis. Id.
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  1           The terms of the Producer’s Deal Memo require the arbitration of any dispute
  2   that arises out of the contract. Exh. B to Casares Decl., Page 9, clause 4. The
  3   Producer’s Deal Memo states: “This Agreement shall be governed by California Law
  4   and any dispute shall be subject to non-appealable binding arbitration pursuant to the
  5   Rules of JAMS.” (Emphasis added.)
  6   IV.     LEGAL STANDARD
  7           The Federal Arbitration Act (the “FAA”) provides that arbitration agreements
  8   in contracts “evidencing a transaction involving [interstate] commerce . . . shall be
  9   valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity
 10   for the revocation of any contract.” 9 U.S.C. § 2.4 The FAA thus promotes a “liberal
 11   federal policy favoring arbitration agreements,” and “questions of arbitrability must be
 12   addressed with a healthy regard for the federal policy favoring arbitration.” Moses H.
 13   Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983); id. at 24–25
 14   (noting that under the FAA, “any doubts concerning the scope of arbitrable issues
 15   should be resolved in favor of arbitration”); see also Perry v. Thomas, 482 U.S. 483,
 16   490–91 (1987) (stating that arbitration agreements falling within the scope of the FAA
 17   “must be ‘rigorously enforce[d]’”) (citations omitted). Indeed, the United States
 18   Supreme Court has held that the FAA “leaves no place for the exercise of discretion
 19   by a district court, but instead mandates that district courts shall direct the parties to
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 22     The United States Supreme Court has made clear that the FAA is extremely broad
      and applies to any transaction directly or indirectly affecting interstate commerce.
 23   See, e.g., Allied-Bruce Terminix Cos. v. Dobson, 513 U.S. 265, 277 (1995). The
      “interstate commerce” requirement is readily satisfied here. The parties in this dispute
 24   were engaged the business of producing a television show to be aired across state
      lines, which involved footage shot in different states. SAC ¶ 31. However, even if
 25   the Court were to conclude that the FAA is inapplicable and that, instead, California
      law applies to arbitration provision, the Court should nonetheless compel arbitration.
 26   The California Arbitration Act, like the FAA, reflects a strong policy in favor of
      arbitration. Pursuant to section 1281.2 of the California Code of Civil Procedure,
 27   when the Court “determines that an agreement to arbitrate the controversy exists,” the
      Court “shall” order arbitration. Cal. Civ. Proc. Code §1281.2.
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  1   proceed to arbitration.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985)
  2   (emphasis in original).
  3           In determining whether to compel arbitration under the FAA, a district court
  4   may not review the merits of the dispute; rather, the court must limit its inquiry to
  5   whether: (1) a valid, enforceable agreement to arbitrate exists; and (2) the claims at
  6   issue fall within the scope of that agreement. See, e.g., Chiron Corp. v. Ortho
  7   Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000). Moreover, the burden is
  8   on the party resisting arbitration to show that the arbitration agreement is invalid or
  9   does not encompass the claims at issue. Green Tree Fin. Corp.-Ala. v. Randolph, 531
 10   U.S. 79, 91–92 (2000).
 11           Once it is determined that the parties have entered into a binding arbitration
 12   agreement, arbitration must be compelled “unless it may be said with positive
 13   assurance that the arbitration clause is not susceptible of an interpretation that covers
 14   the asserted dispute.” AT&T Tech., Inc. v. Comm. Workers of Am., 475 U.S. 643, 650
 15   (1986).
 16   V.      ARGUMENT
 17           A.    The Arbitration Provisions Are Valid and Enforceable
 18           Plaintiffs have not claimed that the arbitration provisions in the Deal
 19   Memoranda are invalid. They have instead attempted to avoid their agreements by
 20   asserting that their causes of action or requests for relief are outside the scope of the
 21   arbitration provisions. Plaintiffs’ assertions are incorrect.5 See Luchini v. Carmax,
 22   Inc., No. CV F 12-0417, 2012 WL 2995483 at *14 (E.D. Cal. July 23, 2012). The
 23   arbitration clauses in the Deal Memoranda are mutual provisions and call for
 24   adjudication by arbitration of “any dispute,” without qualification. The Deal
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 27    Plaintiffs’ counsel made these assertions during the conference of counsel held
      pursuant to Local Rule 7-3.
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  1   Memoranda are both signed by Angel Massey on behalf of the other Plaintiffs. No
  2   credible argument could be made that the arbitration agreements are unenforceable.
  3         B.     AETN Is Entitled to Enforce the Arbitration Agreements
  4         AETN is entitled to enforce the arbitration clauses in the Deal Memoranda
  5   because it is an intended third-party beneficiary of the Deal Memoranda. Plaintiffs
  6   concede as much: “AETN is also an intended third-party beneficiary under the
  7   contracts mentioned herein.” SAC ¶ 12; see Comer v. Micor, Inc., 436 F.3d 1098,
  8   1101 (9th Cir. 2006) (“[N]onsignatories can enforce arbitration agreements as third
  9   party beneficiaries.”) (citing E.I. DuPont de Nemours & Co. v. Rhone Poulenc Fiber
 10   & Resin Intermediates, 269 F.3d 187, 195 (3d Cir. 2001)); Arellano v. T-Mobile USA,
 11   Inc., C 10-05663 WHA, 2011 WL 1362165 (N.D. Cal. Apr. 11, 2011); Macaulay v.
 12   Norlander, 12 Cal. App. 4th 1, 8 (1992) (holding that a securities broker “was a third-
 13   party beneficiary to the . . . agreement and entitled to arbitrate”); Outdoor Services,
 14   Inc. v. Pabagold, Inc., 185 Cal. App. 3d 676, 681 (Ct. App. 1986).
 15         C.     Plaintiffs’ Causes of Action Are Covered by the Arbitration
 16                Provisions
 17         The disputes alleged by counts one, four, five, and seven through nine of the
 18   SAC all fit comfortably within the arbitration agreements. As noted, the agreements
 19   are all-encompassing. The Producer’s Deal Memo states that “any dispute shall be
 20   subject to non-appealable binding arbitration pursuant to the Rules of JAMS.” Exh. B
 21   to Casares Decl. The Artists’ Deal Memos state that “any dispute shall be subject [to]
 22   binding arbitration.” Exh. A to Casares Decl. This language could not speak more
 23   forcefully in favor of arbitration of the counts in the SAC. As one court observed:
 24         “The words ‘any disputes arising from or relating to this agreement’ have
 25         been held to even include disputes not arising under the agreement, if the
 26         disputes have a ‘significant relationship’ to the agreement. . . . When the
 27         arbitration clause in a contract is broad, the strong presumption in favor
 28         of arbitration applies with even greater force.”

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  1   ValueSelling Associates, LLC v. Temple, 09 CV 1493 JM, 2009 WL 3736264, at *2
  2   (S.D. Cal. Nov. 5, 2009) (citations omitted).
  3         Where, as here, the arbitration clause is broad and unqualified, there is a
  4   heightened presumption of arbitrability, such that “only the most forceful evidence of
  5   a purpose to exclude the claim from arbitration can prevail.” AT&T Tech., Inc. v.
  6   Comm. Workers of Am., 475 U.S. 643, 650 (1986).
  7         All the disputes pled in the SAC against AETN fall within the terms of these
  8   arbitration agreements. Plaintiffs’ copyright infringement claim (count one) alleges
  9   that Helping Hands was created by Angel Massey, is based on a treatment authored by
 10   her entitled “Bristol-ogy 101,” and that the language of the Producer’s Deal Memo
 11   reserves various intellectual property rights for her. SAC ¶¶ 42, 30. Plaintiffs allege
 12   that these are the rights that underpin the copyright claim. SAC ¶ 32. Furthermore,
 13   Helping Hands, Angel Massey’s alleged creation, was at the very heart of the Deal
 14   Memoranda. Thus, Plaintiffs’ copyright infringement claim is inextricably bound up
 15   with the Deal Memoranda and, therefore, must be arbitrated in accordance with their
 16   plain terms.
 17         The claims for breach of contract (count four) and breach of the implied
 18   covenant of good faith and fair dealing (count five) allege that Defendants breached
 19   the Deal Memoranda. SAC ¶¶ 56, 63, 65. These claims turn on the language and
 20   duties imposed by the agreements, and so undoubtedly relate to the agreements and
 21   must be arbitrated.
 22         The tortious interference claim (count seven) alleges that Defendants
 23   intentionally interfered with Plaintiffs’ business prospects by, among other things,
 24   Defendants’ “breaches of the applicable agreements alleged herein, Defendants’
 25   suspension of the production of Helping Hands, [and] falsely claiming to BRISTOL
 26   that Plaintiffs breached the applicable agreements . . . .” SAC ¶ 75 (emphases
 27   added). This claim relates to the Deal Memoranda because it requires (among many
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  1   other things) the existence of the Deal Memoranda and their breach for its success. It
  2   is therefore subject to the arbitration agreements.
  3         Plaintiffs attempt to state a claim for unfair competition (count eight) by
  4   alleging that “[t]he foregoing conduct” constitutes unfair or unlawful business
  5   practices. SAC ¶ 79. Within this all-encompassing allegation, Plaintiffs incorporate
  6   all their previous assertions relating to the Deal Memoranda, so count eight relates to
  7   those agreements. Furthermore, Plaintiffs request that the noncompetition agreements
  8   in the Deal Memoranda be enjoined, along with Helping Hands, the subject of the
  9   Deal Memoranda. SAC ¶ 80. Therefore, count eight relates to the Deal Memoranda
 10   and must be arbitrated.
 11         Finally, Plaintiffs’ request for a constructive trust and accounting (count nine)
 12   seeks to collect profits to which they are allegedly entitled under the terms of the Deal
 13   Memoranda, which allegedly reserves a share of profits (SAC ¶ 30) and copyrights for
 14   Plaintiffs. SAC ¶ 84–85. Count nine thus requires an examination of the terms of the
 15   Deal Memoranda to be resolved, and should therefore be ordered to arbitration.
 16         D.     Plaintiffs Refuse to Arbitrate
 17         On October 4, 2012, counsel for AETN requested that Plaintiffs proceed with
 18   arbitration of this litigation in the manner provided in the Agreements. Plaintiffs
 19   refused, and continue to refuse, to do so.
 20         As shown above, all of the elements necessary to order the counts against
 21   AETN to arbitration are present: (1) unequivocal and broad agreements to arbitrate
 22   covering “any dispute” related to the Deal Memoranda; (2) AETN’s entitlement to
 23   enforce those agreements as a third-party beneficiary of them; (3) each cause of action
 24   falls within the terms of the arbitration agreement; and (4) Plaintiffs’ refusal to
 25   arbitrate, notwithstanding their agreement to do so. Accordingly, the Court should
 26   grant this motion and order the Helping Hands Counts against AETN to arbitration.
 27         E.     Dismissal of the SAC or A Stay Of Proceedings Pending Arbitration
 28                Is Appropriate

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  1           “The weight of authority clearly supports dismissal of the case when all of the
  2   issues raised in the district court must be submitted to arbitration.” Alford v. Dean
  3   Witter Reynolds, Inc., 975 F.2d 1161, 1164 (5th Cir. 1992). Alternatively, section 3 of
  4   the FAA allows the district court to stay all aspects of litigation, including discovery,
  5   pre-trial proceedings, and trial, pending resolution of the arbitration. 9 U.S.C. § 3;
  6   EEOC v. Waffle House, Inc., 534 U.S. 279, 289 (2002). AETN respectfully requests
  7   that this Court dismiss this action without prejudice, or in the alternative, stay
  8   proceedings in this matter, pending arbitration between the parties.
  9   VI.     CONCLUSION
 10           For the foregoing reasons, AETN respectfully requests that this Court compel
 11   Plaintiffs to arbitrate with AETN counts one, four, five, and seven through nine of the
 12   SAC in accordance with the valid arbitration provisions found in the Artists’ Deal
 13   Memos and Producer’s Deal Memo,6 and that the Court either dismiss this action or
 14   stay all proceedings pending arbitration.
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 16   Dated: October 19, 2012                     SIDLEY AUSTIN LLP
                                                  Stephen G. Contopulos
 17                                               Bradley H. Ellis
                                                  Wesley R. Montalvo
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 19                                               By:      /s/ Stephen G. Contopulos
 20
                                                        Stephen G. Contopulos

 21
                                                        Attorneys For Defendant
                                                        A&E Television Networks, LLC
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       As noted, the Producer’s Deal Memo specifies JAMS as the forum for arbitration.
 27   AETN therefore requests that the Court order arbitration pursuant to the rules of
      JAMS.
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          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO COMPEL ARBITRATION
